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Dominque Jackson
2 #62439-019
FCI-FORT WORTH
3 Post Office BoX 15330

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Plaintiff BY 05wa
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. 6 UNITED STATES DISTRICT COURT
7 FOR THE CENTRAL DISTRICT OF CALIFORNIA 4
8 C\M{§.,’§`? 21~@\/\/ Aw)»<
9 ' DOMINQUE JACKSON, ) Chse 0.
)
Plaintiff, ) CIVIL COMPLAINT
10 )
V. )
11 )
MIDLAND FUNDING, )
12 . )
Defendant(S). )
13
JURISDICTION
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15 A_
16 ~ . ‘ . .
l. This is an action for injuries and damages for violation(s) of
17

the provisions of the Fair Debt Collections Practices Act ("FDCPA") 15
18 U.S.C. §1692 et. seq.; The Fair Credit Reporting Act ("FCRA") Sect. 623;
19 1681, et. seq.; Negligent enablement of identity theft and fraud; and
20 Defamation. The Jurisdiction of this Court is invoked under 15 U.S.C.
21 "FDCPA" §1692 et. seq.; "FCRA"; and 28 U.S.C. §§ 1331, 1336.

22 a. The Plaintiff is an individual residing in and a citizen of the
23 State of Texas;

24 b. The Defendant is a Corporation organized and existing under the
25 Laws of the State of California, with its principle place of business in
26 San Diego, California; and the Defendant may have other places of
27 business through out the United States;

28 B.

 

 

 

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DEFINITIONS

2. The Plaintiff, Dominque Jackson, is a "Consumer" as defined by 15
U.S.C. §l692a(3), as "any natural person obligated or allegedly
obligated to pay any debt".

3. The Defendant, MIDLAND FUNDING, is a "Debt Collector" as defined
by 15 U.S.C. §1692a(6) as "any person who uses any instrumentality of
interstate commerce or the mails in any business the principle purposes
of which is the collection of any Debts, or who regularly collects or
attempts to collect, directly or indirectly, any Debts owed or due or

asserted to be owed or due another".

a. Defamation: The act of harming the reputation of another by

making a false statement to a third person. See Black's Law Dictionary,
Eighth Edition; Pg. 448
4 b. Negligent: Characterized by a person's failure to exercise the
degree of care that someone of ordinary prudence would have exercised in
the same circumstance. See Black's Law Dictionary, Eighth Edition.~Pg-
1061.
C.
CAUSE OF ACTION

4. On or about July 13, 2015, Plaintiff obtained a copy of his
credit report from "Experian", which revealed that "MIDLAND FUNDING",
("Defendant") had placed an entry on Plaintiff's credit report which
communicated that Plaintiff allegedly had an account in default with the
Defendant in the amount of $243.00. See "Exhibit AF.

5. On January 4, 2015, Defendant took receipt of Plaintiff's "Notice
of Administrative Remedy" and "Identity Theft-Fraud Alert Notice",
requesting Defendant validate the alleged debt within 30 days, pursuant

to the "FDCPA", 15 U.S.C. §§ 1692g(a) and 1692g(b), through certified

 

 

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mail receipt No. 70103090000216206180, which is attached as "Exhibit B".
lt should be noted that Defendant refused or failed to respond to
Plaintiff's validation request and Identity Theft Notice. Furthermore,
the Plaintiff sent an additional letter of Notice and Demand to the
Defendants place of business on February 9, 2016, for resolution of
matter and opportunity to cure within three (3) days, through certified
Mail receipt No. 70103090000216206265; wherein Defendant failed or

refused to acknowledge said Notice and Demand as well. See "Exhibit C".

D.

LEGAL ¢LAIMS
CLAIM ONE
6. Plaintiff asserts that the Defendant(s) violated 15 U.S.C.
§1692e(2)(A) of the "FDCPA" and also "FCRA" §623, when he reported to
Experian Information Solutions, Equifax Information Services, and Trans
Union Corp., that Plaintiff is in default with the Defendant in the
amount of $243.00. See "Exhibit A". .
E.
CLAIM TWO
7. Plaihtiff asserts that Defendant Violated 15 U.s.c. §1692@(8) of
the "FDCPA", when he communicated 'false information. concerning the
alleged debt that Plaintiff "never" owed to the Defendant. The alleged

debt has "Never" been validated, per Plaintiff's request pursuant to

"FDCPA" and "FCRA".

8. The Defendant MIDLAND FUNDING, never had a valid claim against
Plaintiff authorizing them. to pursue and report to Credit reporting
Bureau's any alleged debts associated with the Plaintiff. The Plaintiff
asserts that the Defendant(s) are in violation of "FCRA" §§ 623; 1681

et. seq., the Defendant never notified Plaintiff within 30 days or after

 

 

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30 days of any alleged default prior to placing said delinquent debt

account on Plaintiff's credit reports.

F.
M
9. Plaintiff asserts that Defendant Violated 15 U.S.C. §1692e(10> of
the "FDCPA"

when he used false and deceptive means to collect a Debt
from the Plaintiff.-By communicating false information, the Defendant

attempted to gain an advantage of an unsophisticated Consumer through

the false misrepresentation.

G.

CLAIH FOUR
lO. Plaintiff asserts that Defendant caused a injury of defamation

and damage to the Plaintiff, when he communicated a debt delinquent

account and notice for Collections, to the three major credit reporting

Bureau's, that Plaintiff owed the Defendant a debt. There was and is

"No" legal.contract signed by the Plaintiff and Defendant to do business

or to have done business.

identity theft and fraud upon the Plaintiff. By the Defendant(s)

unwillingness to cooperate with the Plaintiff, when Plaintiff contacted

Defendant with Notice. The Defendant had a duty and a opportunity to

respond to the Plaintiff's request for ValidathH and Notice of identity

theft alert notification. Inwhich, the Defendant failed or refused to

respond to the Plaintiff's correspondence. Notice to Agent is Notice to

Principle, Notice to Principle is Notice to Agent.

 

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I.

CLAIM SIX
'12. Plaintiff asserts that Defendant violated 15 U.S.C. §1692b(b) of
the "FDCPA" when he refused to respond to Plaintiff's validation
request. Defendant took receipt of Plaintiff's "Notice of Admin'istrative
Remedy" and "Notice of Identity theft/fraud alert", wherein Plaintiff
requested that Defendant provide certain pertinent information to verify
the alleged debt with documentation that would give MIDLAND FUNDING, the

legal right to pursue and report to credit reporting Bureau's, any

alleged debts associated with the Plaintiff. Defendant took receipt of
Plaintiff's request for validation request and Notice of identity
theft/fraud alert, through certified mail receipt No.
70103090000216206180, which is attached as "Exhibit B". The defendant
MIDLAND FUNDING, failed or refused to communicate with Plaintiff
regarding the identity theft/fraud notice, and debt validation request;
the defendant also failed or refused to respond ~to the notice and
demand, with an opportunity to cure the matter, through certified mail
receipt No. 70103090000216206265. The Defendant failed to show a right

to report to the credit reporting Bureau's any alleged debt against the

Plaintiff, the Defendant(s) are in violation of 15 U.S.C. §1692g(b).

J.

RELIEF REQUESTED FOR DAMAGES

 

13. Plaintiff is entitled to damages in the amount pursuant to 15

U.S.C. §1692k, which states in part:

Civil Liability - (a) Amount of damages

Except as otherwise prohibited by this Section,
any debt collector who fails to comply with
any provision of this Title [15 USCS §§ 1692
et. seq.] with respect to any person is liable
to such person in the amount equal to sum of:
(2)(A) in the case of any action by individual,
such additional damages as the Court may allow,
but not exceeding $1,000.00

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K.

DAMAGES COMPUTED AS FOLLOWS
$1,000.00 X 3= $3,000.00 -for Violation of §1692e(2)(A), per the

reporting to three (3) credit reporting Agencies;
$1,000.00 x 3= $3,000.00 ~for violation of §1692e(8), Per the reporting
to each credit reporting Agency;

$1,000.00 X 3= $3,000.00 -for violation of §1692e(10), per the reporting

to each credit reporting Agency;

$5,000.00 -for the injury of defamation caused to the
Plaintiff;
$5,000.00 ~for the injury caused to Plaintiff of Negilent

enablement of identity theft and fraud;

$1,000.00 X 3= $3,000.00 -for violation of §1692g(b), per the reporting
to each credit reporting Agencies.

$1,000.00 X 3= $3,000.00 -for violations of the "FCRA", per the
reporting to each credit reporting Agency.

Punitive Damages in the amount of $100,000.00

*For a Total sum certain of $125,000.00, plus cost of action.

L.

ADDITICNAL RELIEF REQUESTED

 

14. Demand for jury trial.

15. Any other relief that the Court may deem appropriate and just.

I, Dominque Jackson, hereby declare under penalty of perjury, that the
foregoing information stated above and any attachments to this form are
true and correct pursuant to 28 U.S.C. §1746.

Dated: this lgq' day of February 2016 A.D.

Dominque Jackson, Plaintiff

 

 

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EXHIBIT "A"

 

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Case 2:16-CV-01702-GW-A.]W Documentl Filed 03/11/16 Pa

 

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EXHIBIT "B"

 

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1. Article_Addressed to:

 

MIDLAND FUND ING

 

8875 Aero Drive,

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Aveilable Acti_ons.

 

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EXHIBIT "C"

 

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Dominque Jackson
2 #62439-019
FCI-FORT WORTH
3 Post Office BoX 15330
Fort Worth, TeXas [76119]
4 Plaintiff

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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT'OF CALIFORNIA
' DOMINQUE JACKSON, ) Case NO.
9 )
Plaintiff, ) CIVIL COMPLAINT
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V. )
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22 a. The Plaintiff is an individual residing in and a citizen of the
23 State of Texas;

24 b. The Defendant is a Corporation organized and existing under the
25 Laws of the State of California, with its principle place of business in
26 San Diego, California; and the Defendant may have other places of
27 business through out the United States; d

28 B'

 

 

 

Case 2:16-cV-01702-GW-A.]W ~Document 1 Filed 03/11/16 Page 14 of 26 Page |D #:14

1 DEFINITIONS
2 ~ 2. The Plaintiff, Dominque Jackson, is a "Consumer" as defined by 15

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oli>.

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7 interstate commerce or the mails in any business the principle purposes
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attempts to collect, directly or indirectly, any Debts owed or due or

9
10 asserted to be owed or due another".
a. Defamation; The act of harming the reputation. of another by
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making a false statement to a third person. See Black's Law Dictionary,
13 Eighth Editioni Pg. 448

14 b. Negligent: Characterized by a person's failure to exercise the
15 degree of care that someone of ordinary prudence would have exercised in

16 the same circumstance. See Black's Law Dictionary, Eighth Edition. Pg-

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19 CAUSE OF ACTION
d 20 4. On or about July 13, 2015, Plaintiff obtained. a copy' of `his

21 credit report from "Experian", which revealed that "MIDLAND FUNDING",
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Plaintiff's validation request and Identity Theft Notice. Furthermore,
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Defendants place of business on February 9, 2016, for resolution of
matter and opportunity to cure within three (3) days, through certified
Mail receipt No. 70103090000216206265; wherein Defendant failed or

refused to acknowledge said Notice and Demand as well. See "EXhibit C".

D-

LEGAL ¢LAIMS
CLAIM ONE
6. Plaintiff asserts that the Defendant(s) violated 15 U.S.C.
§1692e(2)(A) of the "FDCPA" and also "FCRA" §623, when he reported to
Experian Information Solutions, Equifax Information Services, and Trans
Union Corp., that Plaintiff is in default with the Defendant in the
amount of $243.00. See "Exhibit A". .
E.
CLAIM TWO
7. Plaintiff asserts that Defendant violated 15 U.S.C. §1692e(8) of
the "FDCPAF, when he communicated 1false information. concerning the
alleged debt that Plaintiff "never" owed to the Defendant. The alleged

debt has "Never" been validated, per Plaintiff's request pursuant to

"FDCPA" and "FCRA".

8. The Defendant MIDLAND FUNDING, never had a valid claim against
Plaintiff authorizing them. to pursue and report to Credit reporting
Bureau's any alleged debts-associated with the Plaintiff. The Plaintiff
asserts that the Defendant(s) are in violation of "FCRA" §§ 623; 1681

et. seq., the Defendant never notified Plaintiff within 30 days or after

 

 

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Ca§§;e 2'16-cV-01702-GW-A.]W Document 1 Fl|ed 03/11/16 Page 16 of 26 Page |D # 1

1 30 days of any alleged default prior to placing said delinquent debt

2 account on Plaintiff's credit reports.

3 F.
4 CLAIM THREE
9. Plaintiff asserts that Defendant violated 15 U.S.C. §1692e(10> of
the "FDCPA" when he used false and deceptive means to collect a Debt
from the Plaintiff. By communicating false information, the Defendant

\]O\Ul

8 attempted to gain an advantage of an unsophisticated Consumer through

the false misrepresentation.

9

G.
10

CLAIM FOUR
11
10. Plaintiff asserts that Defendant caused a injury of defamation

12

and damage to the Plaintiff, when he communicated a debt delinquent
13 '

14 account and notice for Collections, to the three major credit reporting

Bureau's, that Plaintiff owed the Defendant a debt. There was and is
15 _ .

16'"No" legal.contract signed by the Plaintiff and Defendant to do business

17 or to have done business.

 

18 H.
CLAIM FIVE
19
20 11. Plaintiff asserts that Defendant caused injury to the Plaintiff,
21

by the Defendant(s) actions of Neligence which caused an enablement of

22 identity theft and fraud upon. the Plaintiff. By the Defendant(s)

23 unwillingness to cooperate with the Plaintiff, when Plaintiff contacted

24 Defendant with Notice.

The Defendant had a duty and a opportunity to

25 respond to the Plaintiff's request for Validation and Notice of identity

26 theft alert notification. Inwhich, the Defendant failed or refused to

27 respond to the Plaintiff's correspondence. Notice to Agent is Notice to

28 Principle, Notice to Principle is Notice to Agent.

 

4

 

 

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1 I.

2 cumle
3 '12. Plaintiff asserts that Defendant violated 15 U.S.C. §1692b(b) of
4 the "FDCPA" when he refused to respond to Plaintiff's validation

5 request. Defendant took receipt of Plaintiff's "Notice of Admin`istrative

6 Remedy" and "Notice of ldentity theft/fraud alert", wherein Plaintiff

7 requested that Defendant provide certain pertinent information to verify
8 the alleged debt with documentation that would give MIDLAND FUNDING, the
9 legal right to pursue and report to credit reporting Bureau's, any

10 alleged debts associated with the Plaintiff. Defendant took receipt of
11 Plaintiff's request for validation request and Notice of identity
12 theft/fraud alert, through certified mail receipt No.
13 70103090000216206180, which is attached as "Exhibit B". The defendant
14_ MIDLAND FUNDING, failed or refused to communicate with Plaintiff
15 regarding the identity theft/fraud notice, and debt validation request;
16 the defendant also failed or refused to respond -to the notice and
17 demand, with an opportunity to cure the matter, through certified mail
receipt No. 70103090000216206265. The Defendant failed to show a right

18

19 to report to the credit reporting Bureau's any alleged debt against the

20 Plaintiff, the Defendant(s) are in violation of 15 U.S.C. §1692g(b).

 

21 J.
22 RELIEF REQUESTED FOR DAMAGES
23 13. Plaintiff is entitled to damages in the amount pursuant to 15

24 U.S.C. §1692k, which states in part:

25 Civil Liability - (a) Amount of damages
Except as otherwise prohibited by this SeCthn,
any debt collector who fails to comply with
26 any provision of this Title [15 USCS §§ 1692
27 4 et. seq.] with respect to any person is liable

to such person in the_amount equal to sum of:
(2)(A) in the case of any action by individual,
such additional damages as the Court may allow,
but not exceeding $1,000.00

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- DAMAGES COMPUTED AS FOLLOWS
$1,000.00 X 3= $3,000.00 -for violation of §1692e(2)(A), per the

reporting to three (3) credit reporting Agencies;
$1,000.00 x 3= $3,000.00 -for violation of §1692e(8), per the reporting
to each credit reporting Agency;

$1,000.00 X 3= $3,000.00 -for violation of §1692e(10), per the reporting

to each credit reporting Agency;

$5,000.00 -for the injury of defamation caused to the
Plaintiff;
$5,000.00 -for the injury caused to Plaintiff of Negilent

enablement of identity theft and fraud;

$1,000.00 X 3= $3,000.00 -for violation of §1692g(b), per the reporting
to each credit reporting Agencies.

$1,000.00 X 3= $3,000.00 -for violations of the "FCRA", per the
reporting to each credit reporting Agency.

Punitive Damages in the amount of $100,000.00

*For a Total sum certain of $125,000.00, plus cost of action.

L.

ADDITIONAL RELIEF REQUESTED

 

14. Demand for jury trial.

15. Any other relief that the Court may deem appropriate and just.

I, Dominque Jackson, hereby declare under penalty of perjury, that the
foregoing information stated above and any attachments to this form are
true and correct pursuant to 28 U.S.C. §1746.

Dated: this 2' § day of February 2016 A.D.

39W

Dominque Jackson, Plaintiff

 

 

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EXHIBIT "A"

 

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Case 2:16-CV-017O2-GW-A.]W Documentl Filed 03/11/16 Pa

 

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EXHIBIT "B"

 

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Have questions? We're here to he|p. .

 

 

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Sign up for My USPS.

Get Easy Tracking Updates )

 

 

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